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                                                                              GOVERNMENT
                                                                                EXHIBIT

                                                                              Exhibit C
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